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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 HU YANG,

              Plaintiff,

 v.
                                              CIVIL ACTION NO.
 CAPITAL ONE SERVICES, LLC,                   1:23-cv-00354-VMC-RDC
 AND AMPCUS INC.,

              Defendants.



  CONSENT MOTION FOR EXTENSION OF TIME FOR CAPITAL ONE
   TO ANSWER OR OTHERWISE PLEAD AND BRIEF IN SUPPORT

      Defendant Capital One Services, LLC (“Capital One”), pursuant to Rule

6(b) of the Federal Rules of Civil Procedure, files this Consent Motion for

Extension of Time for Capital One to Answer or Otherwise Plead and Brief in

Support, showing the Court as follows:

      1.    On January 24, 2023, Plaintiff Hu Yang (“Plaintiff”) filed his

Complaint for Damages (the “Complaint”), asserting claims for violations of his

rights under the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12111 et seq., Title VII of the Civil Rights Act of 1964, as amended, and the Fair

Labor Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq.
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        2.    On February 1, 2023, Capital One was served with a copy of the

Complaint.

        3.    On February 6, 2023, Plaintiff filed his First Amended Complaint for

Damages (“First Amended Complaint”).

        4.    Capital One’s responsive pleadings currently are due on February 22,

2023.

        5.    In order to fully evaluate the allegations, their impact on other

litigation, and prepare responsive pleadings, Capital One has requested and

Plaintiff has agreed to extend the deadline for Capital One to answer, move or

otherwise respond to Plaintiff’s First Amended Complaint by 30 days – i.e., until

March 24, 2023.

        6.    The case is still in its early stages and the requested extension, which

is sought in good faith, will not appreciably delay the resolution of this matter.

This is the first request for an extension of time to answer, move or otherwise

respond in this matter by Capital One, and there is no scheduling order in this

matter. Moreover, counsel for Plaintiff has indicated that Plaintiff consents to this

motion.

        WHEREFORE, Capital One respectfully requests that the Court grant this

Consent Motion for Extension of Time for Capital One to Answer or Otherwise


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Plead. A proposed Order is attached as Exhibit A hereto for the Court’s

consideration.



      Respectfully submitted this 13th day of February, 2023.


                               /s/Shirley D. Akrasih
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                               Facsimile: 404.885.3900

                               Attorneys for Defendant Capital One Services,
                               LLC




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify on the 13th day of February

2023, that the foregoing has been prepared in Time New Roman, 14-point font,

and otherwise complies with the requirements of Local Rule 5.1.

                                      /s/Shirley D. Akrasih
                                      Shirley D. Akrasih


                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing CONSENT MOTION

FOR EXTENSION OF TIME FOR CAPITAL ONE TO ANSWER OR

OTHERWISE PLEAD AND BRIEF IN SUPPORT was electronically filed with

the Clerk of Court using the CM/ECF system, which serves notification of such

filing to all CM/ECF participants.

      This 13th day of February, 2023.


                                      /s/Shirley D. Akrasih
                                      Shirley D. Akrasih




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                                    Exhibit A

                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 HU YANG,

              Plaintiff,

 v.
                                              CIVIL ACTION NO.
 CAPITAL ONE SERVICES, LLC,                   1:23-cv-00354-VMC-RDC
 AND AMPCUS INC.,

              Defendants.



                  [PROPOSED] ORDER GRANTING
             CONSENT MOTION FOR EXTENSION OF TIME

      BEFORE THE COURT is the Consent Motion for Extension of Time FOR

Capital One to Answer or Otherwise Plead and Brief in Support filed on February

13, 2023. Upon consideration, the Motion is GRANTED and it is hereby

ORDERED AND ADJUDGED that Defendant Capital One Services, LLC shall

have until March 24, 2023, to answer or otherwise respond to Plaintiff’s First

Amended Complaint.




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IT IS SO ORDERED this ___ day of ______________, 2023.


                       HONORABLE REGINA D. CANNON
                       UNITED STATES MAGISTRATE JUDGE




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